Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 1 of 7 PageID #: 3293




                                          /s/ Hon.Carol B. Amon
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 2 of 7 PageID #: 3294
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 3 of 7 PageID #: 3295
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 4 of 7 PageID #: 3296
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 5 of 7 PageID #: 3297
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 6 of 7 PageID #: 3298
Case 1:03-cr-00304-CBA   Document 775   Filed 02/07/06   Page 7 of 7 PageID #: 3299




                                             /s/ Hon. Carol B. Amon
